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                                    UNITED STATES BANKRUPTCY COURT

                                       EASTERN DISTRICT OF LOUISIANA

       In re:                                                §
                                                             §             Case No. 20-10846
       THE ROMAN CATHOLIC CHURCH OF                          §
       THE ARCHDIOCESE OF NEW                                §             Section “A”
       ORLEANS,                                              §
                                                             §             Chapter 11
                           1
                 Debtor.                                     §
                                                             §



                               MOTION TO SUBSTITUTE COUNSEL OF RECORD
                Now into Court, jointly come Heller Draper & Horn, L.L.C. (“Heller Draper”) and Baker,

   Donelson, Bearman, Caldwell & Berkowitz, P.C. (“Baker Donelson”), on behalf of Second

   Harvest Food Bank of Greater New Orleans and Acadiana (“Second Harvest”), who request that

   Baker Donelson be substituted as counsel solely for Second Harvest. In support of this Motion,

   movers aver:

                1.      The Roman Catholic Church of the Archdiocese of New Orleans filed for relief

   pursuant to Chapter 11 of the United States Bankruptcy Code on May 1, 2020.

                2.      On the 4th day of May 2020, Heller, Draper, Patrick, Horn & Manthey, L.L.C.2

   (“Firm”) filed a Notice of Appearance and Request for Notice [Dkt. #39] on behalf of the parties

   identified in the Verified Statement of the Apostolates Under Bankruptcy Rule 2019 (“2019

   Statement”) filed by the Firm [Dkt. #40].

                3.      The 2019 Statement and amendments thereto have been filed by the Firm which

   lists the entities on whose behalf the Firm filed a Notice of Appearance.


   1
            The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place
   of business is located at 7887 Walmsley Ave., New Orleans, LA 70125.
   2
                The Firm is now known as Heller, Draper & Horn, L.L.C.


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          4.       On June 16, 2023, attorneys in the firm of Baker Donelson filed a Notice of

   Appearance and Request for Notice [Dkt. # 2335] on behalf of Second Harvest which had the

   effect of withdrawing Second Harvest from the group of entities represented by the Firm and

   known as the Apostolates.

          5.       Heller Draper will file an Amended 2019 Statement that reflects that Second

   Harvest is no longer represented by the Firm and a member of the Apostolates.

          6.       Second Harvest has no objection to the granting of this Motion.

          WHEREFORE, Heller Draper & Horn, L.L.C. and Baker, Donelson, Bearman, Caldwell,

   & Berkowitz, P.C. request that this Court enter an Order enrolling Baker, Donelson, Bearman,

   Caldwell, & Berkowitz, P.C. to serve of counsel of record in the above matter in lieu of Heller

   Draper & Horn, L.L.C. solely for Second Harvest Food Bank of Greater New Orleans and

   Acadiana.

   July 26, 2023

                                         Respectfully submitted:


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                                        Attorney for Second Harvest Food Bank of
                                        Greater New Orleans and Acadiana



                                   CERTIFICATE OF SERVICE

          I, Douglas S. Draper, hereby certify that a copy of the above and foregoing has been served
   on July 26, 2023, upon the following parties via this Court’s electronic notification system as
   follows:

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